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Fill in this information to identify the case:

            Prestige Heating and Air Conditioning, LLC
Debtor Name __________________________________________________________________


                                        SouthernDistrict
United States Bankruptcy Court for the: _______ Districtofof Texas
                                                          ________

                                                                                                                    Check if this is an
Case number: 19-35298
             _________________________
                                                                                                                        amended filing




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                             12/17

Month:                10/2019
                     ___________                                                              Date report filed:      12/04/2019
                                                                                                                      ___________
                                                                                                                      MM / DD / YYYY

                   HVAC service and repair
Line of business: ________________________                                                    NAISC code:             ___________

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                         Kristie Gesner
                                           ____________________________________________

Original signature of responsible party    ____________________________________________

Printed name of responsible party          ____________________________________________

                                              **Debtor is in process of reconciling its accounts and reserves the right to amend.
             1. Questionnaire
    Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                           Yes     No       N/A
         If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

    1.   Did the business operate during the entire reporting period?                                                      
                                                                                                                           ✔               
    2.   Do you plan to continue to operate the business next month?                                                       
                                                                                                                           ✔               
    3.   Have you paid all of your bills on time?                                                                                 
                                                                                                                                   ✔        
    4.   Did you pay your employees on time?                                                                               
                                                                                                                           ✔               
    5.   Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                   
                                                                                                                           ✔               
    6.   Have you timely filed your tax returns and paid all of your taxes?                                                       
                                                                                                                                   ✔        
    7.   Have you timely filed all other required government filings?                                                      
                                                                                                                           ✔               
    8.   Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                   
                                                                                                                           ✔               
    9.   Have you timely paid all of your insurance premiums?                                                                             
                                                                                                                                            ✔

         If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
    10. Do you have any bank accounts open other than the DIP accounts?                                                           
                                                                                                                                   ✔        
    11. Have you sold any assets other than inventory?                                                                            
                                                                                                                                   ✔        
    12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?                     
                                                                                                                                   ✔        
    13. Did any insurance company cancel your policy?                                                                                     
                                                                                                                                            ✔

    14. Did you have any unusual or significant unanticipated expenses?                                                           
                                                                                                                                   ✔        
    15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                       
                                                                                                                                   ✔        
    16. Has anyone made an investment in your business?                                                                           
                                                                                                                                   ✔        
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Debtor Name   Prestige  Heating and Air Conditioning, LLC
              _______________________________________________________                             19-35298
                                                                                      Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                            
                                                                                                                                  ✔      
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                              
                                                                                                                                  ✔      


              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                                21,194.07
                                                                                                                             $ __________
        This amount must equal what you reported as the cash on hand at the end of the month in the previous
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
                                                                                                        121,802.56
        Report the total from Exhibit C here.                                                         $ __________

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                      - $ __________
                                                                                                          130,929.07
        Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                         +       -6,764.23
                                                                                                                             $ __________
        Subtract line 21 from line 20 and report the result here.
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
                                                                                                                                10,730.84
        Report this figure as the cash on hand at the beginning of the month on your next operating report.              =   $ __________

        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



              3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                       $ ____________

               (Exhibit E)




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Debtor Name   Prestige  Heating and Air Conditioning, LLC
              _______________________________________________________                                19-35298
                                                                                         Case number_____________________________________




              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                          98,154.12
                                                                                                                               $ ____________

               (Exhibit F)



              5. Employees

    26. What was the number of employees when the case was filed?
                                                                                                                                          12
                                                                                                                                 ____________

    27. What is the number of employees as of the date of this monthly report?
                                                                                                                                          12
                                                                                                                                 ____________




              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                                         0.00
                                                                                                                               $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                            0.00
                                                                                                                               $ ____________

    30. How much have you paid this month in other professional fees?                                                                    0.00
                                                                                                                               $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                                   0.00
                                                                                                                               $ ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                        $ 125,000.00
                                          ____________           –     121,802.56
                                                                     $ ____________
                                                                                               =        3,197.44
                                                                                                   $ ____________
    32. Cash receipts
                                        $ 142,165.00                   130,929.07              =       11,235.93
    33. Cash disbursements                ____________           –   $ ____________                $ ____________

                                          -17,165.00             –       -9,126.51             =        8,038.49
    34. Net cash flow                   $ ____________               $ ____________                $ ____________


    35. Total projected cash receipts for the next month:                                                                         120,000.00
                                                                                                                                $ ____________

    36. Total projected cash disbursements for the next month:                                                                - $ ____________
                                                                                                                                  107,931.00

    37. Total projected net cash flow for the next month:
                                                                                                                              = $ ____________
                                                                                                                                    12,609.00




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Debtor Name   Prestige  Heating and Air Conditioning, LLC
              _______________________________________________________                             19-35298
                                                                                      Case number_____________________________________




              8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

    
    ✔   38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

    ✔
       39. Bank reconciliation reports for each account.

    ✔
       40. Financial reports such as an income statement (profit & loss) and/or balance sheet.


    
    ✔   41. Budget, projection, or forecast reports.


    
    ✔   42. Project, job costing, or work-in-progress reports.




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         Print                     Save As...                                                                                Reset
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                                                                                                                                                Statement of Accounts
                                                                                                                                                Page 1 of 13
                                                                                                                                                This Statement: October 31, 2019
                                                                                                                                                Last Statement: September 30, 2019

                                                                                                                                                Account 5793469452



                                                                                                                                                DIRECT INQUIRIES TO:
                                                                                                                                                Direct all inquiries to Customer Service:
            0067937                                  3305-06-0000-AMG-PG0023-00075                                                              In Houston:                  713-235-8810
            PRESTIGE HEATING AND AIR CONDITIONING LL                                                                                            In Dallas/Fort Worth:        214-754-9500
                                                                                                                                                In San Antonio:              210-343-4500
            DEBTOR IN POSSESSION CASE # 19-35298-H3
                                                                                                                                                Or Toll-Free:                800-287-0301
            OPERATING ACCOUNT
                                                                                                                                                Press 0 for a Customer Service Representative
            2129 FM 2920 RD STE 190
            SPRING TX 77388-3671




            Amegy Bank - The "A" Bank
            Amegy Bank, a division of Zions Bancorporation, N.A.


             SUMMARY OF ACCOUNT BALANCE
                                                                                                                                    Account                           Outstanding
             Account Type                                                      Account Number                                Ending Balance                        Balances Owed
             Business Inspire Checking                                         5793469452                                         $10,742.57



             BUSINESS INSPIRE CHECKING 5793469452                                                                                                                                            151    75



             Previous Balance                                     Deposits/Credits                      Charges/Debits                    Checks Processed                         Ending Balance
             5,936.83                                                 104,903.77                            33,619.44                             66,478.59                             10,742.57

            ...........................................................................................................................................................................................
            33 DEPOSITS/CREDITS
            Date                      Amount                 Description
            10/02                   22,059.06                DEPOSIT 8282069515
            10/04                   11,492.65                DEPOSIT 8282043789
            10/09                      639.40                DEPOSIT 8282054728
            10/10                      350.55                INTUIT PYMT SOLN DEPOSI 524771992044311REF # 019283005092588 1112143037
            10/10                      703.63                BUSINESS MOBILE DEPOSIT CREDIT 8282022073
            10/11                      504.45                74445008W00R63B57 2318 GOODMAN-N HOUSTON 348 HOUSTON TX 1213056900
            10/11                   17,361.62                DEPOSIT 8282083719
            10/15                        1.00                74692168W2XB81YZ5 2318 LA QUINTA INNS 0968 PLANO TX 1217337658
            10/15                       30.72                74610438W09FDFQLY 2318 THE HOME DEPOT #6838 HOUSTON TX 1217337657
            10/15                      691.87                INTUIT PYMT SOLN DEPOSI 524771992044311REF # 019288007100265 1116744554
            10/15                      701.40                INTUIT PYMT SOLN DEPOSI 524771992044311REF # 019288007157258 1116786838
            10/16                      187.89                746326990EJ5KDLVF 2318 JOHNSON SUPPLY SPRING SPRING TX 1213058817
            10/16                   11,400.00                DEPOSIT 8282042441
            10/17                      303.00                INTUIT PYMT SOLN DEPOSI 524771992044311REF # 019290009672004 1112447508
            10/17                      205.68                BUSINESS MOBILE DEPOSIT CREDIT 8282025795
            10/17                      867.68                BUSINESS MOBILE DEPOSIT CREDIT 8282025793
            10/21                      380.00                INTUIT PYMT SOLN DEPOSI 524771992044311REF # 019294001342714 1114529863
            10/21                      566.84                INTUIT PYMT SOLN DEPOSI 524771992044311REF # 019294001499186 1114569317
            10/21                    1,767.30                DEPOSIT 8282134294
            10/22                      248.98                BUSINESS MOBILE DEPOSIT CREDIT 8282007428
            10/23                    2,699.82                INTUIT PYMT SOLN DEPOSI 524771992044311REF # 019296003077927 1111543452
            10/23                    3,581.97                DEPOSIT 8282041187
            10/24                    1,897.18                INTUIT PYMT SOLN DEPOSI 524771992044311REF # 019297004011119 1111533762
            10/24                      947.92                DEPOSIT 8282059925
            10/25                    1,085.44                INTUIT PYMT SOLN DEPOSI 524771992044311REF # 019298004667044 1112551832
            10/25                    6,441.15                DEPOSIT 8282072295
            10/29                    1,800.00                RETURN SEQ # 008282164388 1709002934
            10/29                      667.43                INTUIT PYMT SOLN DEPOSI 524771992044311REF # 019302006474315 1113234640
            10/30                    2,796.51                INTUIT PYMT SOLN DEPOSI 524771992044311REF # 019303007433696 1112337141
            10/30                    4,775.00                DEPOSIT 8282035615
            10/30                    5,970.71                DEPOSIT 8282035561
            10/31                      168.38                74492159FMJFXSLKK 2418 SQ *HYE RUM 877-417-4551 TX 1213151499
            10/31                    1,608.54                DEPOSIT 8282035687




A division of Zions Bancorporation, N.A. Member FDIC                                                                                                                  0067937-0000001-0150920
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                                                                                                                           October 31, 2019
                                                                                                                           PRESTIGE HEATING AND AIR CONDITIONING LL
                                                                                                                           5793469452




           ...........................................................................................................................................................................................
           148 CHARGES/DEBITS
           Date                       Amount                Description
           10/01                        45.79               0318 P.O.S. PURCHASE Johnstone Johnstone S San Antoni TX 1410222944
           10/01                        48.47               0318 P.O.S. PURCHASE BUC-EE'S # BUC-EE'S #1 LULING TX 1410222945
           10/02                        89.28               24445008K00NWAR2M 2318 GOODMAN-TOMBALL 416 281-290-0382 TX 1212260546
           10/02                        31.36               24445008K00NWAR4P 2318 GOODMAN-TOMBALL 416 281-290-0382 TX 1212260544
           10/02                       190.71               24493988K2Q99FKVF 2318 CENTURY A/C SUPPLY 281-776-1925 TX 1212260545
           10/03                       589.61               24632698K5SFPZ646 2318 JOHNSON SUPPLY SPRING 281-872-3454 TX 1212961771
           10/03                       840.00               0318 ATM WITHDRAWAL 2000 SPRING CYPRESS RD SPRING TX 1410234762
           10/03                        74.85               MERCHANT BNKCD DEPOSIT 346201486880 REF # 019276000550908 1112603945
           10/04                       194.85               24435658L5PF1V4RT 2318 LENNOX INDUSTRIES 972-497-6730 TX 1213857669
           10/04                       309.40               24493988M2BGYMV52 2318 CENTURY A/C SUPPLY 281-776-1925 TX 1213857671
           10/04                       183.22               24493988M2BHNDHAA 2318 CENTURY A/C SUPPLY 281-776-1925 TX 1213857670
           10/04                        37.09               0318 P.O.S. PURCHASE KROGER FUE KROGER FUEL SPRING TX 1411427921
           10/07                       235.04               24610438M09FP2FGD 2318 THE HOME DEPOT #6516 CONROE TX 1215289303
           10/07                       109.10               24632698MEJ6FVYRX 2318 JOHNSON SUPPLY SPRING 281-872-3454 TX 1215289301
           10/07                       703.58               24632698NEJB5NDYE 2318 JOHNSON SUPPLY SPRING 281-872-3454 TX 1215289304
           10/07                     1,289.60               24692168M2X6WJPTV 2318 IN *HEAVE HO CRANE CO.713-8803830 TX 1215289302
           10/07                        37.39               24000978PBVNH0YBP 2418 THE BUTLER HOUSE 281-6512185 TX 1215162681
           10/07                       189.13               24000978PQ0XDLQNM 2418 THE BUTLER HOUSE 281-6512185 TX 1215162682
           10/07                       187.00               HOME DEPOT AUTO PYMT REF # 019280002357127 1114760877
           10/08                        87.08               0318 P.O.S. PURCHASE AUTOZONE AUTOZONE 4 SPRING TX 1410321881
           10/09                        27.99               24445008SHEWFN3AS 2318 RUDY'S SPRING #208 SPRING TX 1212553842
           10/09                        53.70               0318 P.O.S. PURCHASE TIGER MART TIGER MART BUFFALO TX 1410121976
           10/10                        15.13               24427338SMHDNL6MN 2318 SONIC DRIVE IN #4563 BUFFALO TX 1212454660
           10/10                       202.43               24445008V00PB7XM7 2318 GOODMAN-TOMBALL 416 281-290-0382 TX 1212454661
           10/10                         5.81               0318 P.O.S. PURCHASE SHELL SERV SHELL SERVI CENTERVILL TX 1410423320
           10/10                        68.37               0318 P.O.S. PURCHASE 7-ELEVEN 3 7-ELEVEN 34 PLANO TX 1410423321
           10/10                        12.17               INTUIT PYMT SOLN TRAN F 524771992044311REF # 019283005093560 1112148547
           10/11                       127.44               24632698VEJ51JQWG 2318 JOHNSON SUPPLY SPRING 281-872-3454 TX 1213056904
           10/11                       108.25               24801658V0GRXRV8R 2418 SPICEWOOD VINEYARDS SPICEWOOD TX 1213056108
           10/11                        46.24               24610438V09FAW60E 2318 THE HOME DEPOT #6819 MAGNOLIA TX 1213056906
           10/11                        88.69               24009588V2X8PGTZT 2318 THE HOLY GRAIL PUB PLANO TX 1213056902
           10/11                         1.00               24692168V2XNDHA6A 2318 LA QUINTA INNS 0968 PLANO TX 1213056905
           10/11                        10.95               24692168W2XY4K1BL 2318 WHATABURGER 891 HUTCHINS TX 1213056903
           10/11                     1,147.45               24445008W00R63B31 2318 GOODMAN-N HOUSTON 348 281-448-2665 TX 1213056901
           10/11                        61.00               0190AVU2 PRESTIG PAYROL 0190AVU2 REF # 019284006126182 1112360933
           10/11                       125.30               0190AVU2 PRESTIG PAYROL 0190AVU2 REF # 019284006126181 1112360932
           10/11                     2,189.14               0190AVU2 PRESTIG PAYROL 0190AVU2 REF # 019284006126183 1112360934
           10/15                       172.79               24610438W09FDFF2Y 2318 THE HOME DEPOT #6838 HOUSTON TX 1217337661
           10/15                        63.52               24610438W09FDFF4R 2318 THE HOME DEPOT #6838 HOUSTON TX 1217337665
           10/15                        33.15               24316058WFYW30P92 2318 SHELL OIL 54216000023 CENTERVILLE TX 1217337664
           10/15                         3.79               24316058WFYW8PSLL 2418 SHELL OIL 54216000023 CENTERVILLE TX 1217336338
           10/15                        74.08               24431058X2LR0BKL5 2318 ROMANOS 1088 THE WOODLANDS TX 1217337660
           10/15                        12.74               24269798X00Z64BJ6 2318 CILANTROS MEXICAN GRILTHE WOODLANDS T 1217337662
           10/15                        50.00               24692168W2XGX6Y68 2318 IN *RICH PRODUCTION 713-3974401 TX 1217337659
           10/15                        90.78               24798658X8AL2BX4V 2318 FIELDINGS LOCAL KITCHETOMBALL TX 1217337663
           10/15                        96.19               24798658X8AL2BX53 2318 FIELDINGS LOCAL KITCHETOMBALL TX 1217337666
           10/15                        52.67               24269799000V56VY8 2318 ROCK AND ROLL SUSHI - SPRING TX 1217152993
           10/15                       705.68               2476062908PQNP0HK 2318 A BUSY BEES FULL AUTO SPRING TX 1217152992
           10/15                        48.49               0318 P.O.S. PURCHASE KROGER FUE KROGER FUEL SPRING TX 1414898004
           10/15                        49.72               0318 P.O.S. PURCHASE CST 1907 CST 1907 SPRING TX 1414898005
           10/15                        23.77               INTUIT PYMT SOLN TRAN F 524771992044311REF # 019288007102047 1116756514
           10/15                        24.35               INTUIT PYMT SOLN TRAN F 524771992044311REF # 019288007156468 1116797748
           10/16                       366.09               246326990EJ5KDLT0 2318 JOHNSON SUPPLY SPRING 281-872-3454 TX 1213058821
           10/16                       308.08               246326990EJ5KDLL4 2318 JOHNSTONE SUPPLY OF HO713-868-8967 TX 1213058820
           10/16                        68.52               246326990EJ5KDLNP 2318 JOHNSTONE SUPPLY OF HO713-868-8967 TX 1213058823
           10/16                     1,501.63               240404891BMDH840T 2318 VERBET INDUSTRIES - VBHOUSTON TX 1213058824
           10/16                        17.34               244921590MJJ5DLZ4 2318 SQ *THE PHENIX CAFE HOUSTON TX 1213058818
           10/16                       225.00               2427074900XM9DNXZ 2318 JPCt 1-2 Fine Fee INT 713-7555195 TX 1213058819
           10/16                       155.00               2427074900XM9EKY3 2318 JPCt 1-2 Fine Fee INT 713-7555195 TX 1213058822
           10/17                       306.51               246326991EJ4RQ3P1 2318 JOHNSON SUPPLY SPRING 281-872-3454 TX 1212755341
           10/17                       138.09               246326991EJ4RQ3TM 2318 JOHNSON SUPPLY SPRING 281-872-3454 TX 1212755340
           10/17                       135.57               2469216912XLHARRZ 2318 AT&T *PAYMENT 800-288-2020 TX 1212755338
           10/17                     1,658.39               247606292DMP3GRRV 2318 RAMSEY AND CO 713-8694608 TX 1212755337
           10/17                       312.84               24445009200NEQ4YB 2318 GOODMAN-N HOUSTON 348 281-448-2665 TX 1212755339
           10/17                         6.48               0318 P.O.S. PURCHASE O'REILLY A O'REILLY AU SPRING TX 1410323468
           10/17                        10.55               INTUIT PYMT SOLN TRAN F 524771992044311REF # 019290009670249 1112453551
           10/18                       102.83               2443106922DZJJS5A 2318 AMAZON.COM*H53UI9IP3 AAMZN.COM/BILL W 1213756094
           10/18                       773.71               246392392S66DYA4F 2318 CYTEL 800-4469010 TX 1213756095
           10/18                        75.00               244921592RTYLX5M0 2318 PAYPAL *BNIMCMONEYM 402-935-7733 CA 1213756093
           10/18                        43.62               2413746928PY187SY 2318 TST* RAKUU RESTAURANT SPRING TX 1213756096



A division of Zions Bancorporation, N.A. Member FDIC                                                                                                                 0067937-0000002-0150921
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                                                                                      October 31, 2019
                                                                                      PRESTIGE HEATING AND AIR CONDITIONING LL
                                                                                      5793469452
                                                                                      Amegy Bank of Texas


      Continued ...
      Date                  Amount           Description
      10/18                  712.79          240404893BMDK555W 2318 VERBET INDUSTRIES - VBHOUSTON TX 1213756097
      10/18                   41.06          0318 P.O.S. PURCHASE TIMEWISE # TIMEWISE #8 SPRING TX 1411027139
      10/18                   24.63          0318 P.O.S. PURCHASE HWY 290 GE HWY 290 GEN DRIPPING S TX 1411027138
      10/18                   61.00          0190AVU2 PRESTIG PAYROL 0190AVU2 REF # 019291000487393 1113163428
      10/18                  125.30          0190AVU2 PRESTIG PAYROL 0190AVU2 REF # 019291000487392 1113163427
      10/18                2,594.50          0190AVU2 PRESTIG PAYROL 0190AVU2 REF # 019291000487394 1113163429
      10/21                  275.96          24610439309FK9SLJ 2318 THE HOME DEPOT #6516 CONROE TX 1215186533
      10/21                   38.56          24610439309FK9STE 2318 THE HOME DEPOT #6516 CONROE TX 1215186539
      10/21                  872.45          2469216942XXS1JQD 2318 STATE AUTO MUTUALINSCO800-444-9950 OH 1215186538
      10/21                  384.03          24610439409FPF1J7 2318 THE HOME DEPOT #6516 CONROE TX 1215186537
      10/21                  217.41          246326994EJB1DJZF 2318 JOHNSTONE SUPPLY OF HO713-868-8967 TX 1215186532
      10/21                   47.51          2480166950GRZB8BA 2318 ROYERS CAFE ROUNDTOP TX 1215065185
      10/21                  166.01          2469216952XNWY4K9 2318 COMCAST HOUSTON CS 1X 800-266-2278 TX 1215186536
      10/21                  121.19          244921595MJF47HL8 2318 SQ *HYE RUM JOHNSON CITY TX 1215186535
      10/21                  151.32          244921594RWLKE0X9 2318 SQ *HYE RUM JOHNSON CITY TX 1215186534
      10/21                  100.82          248019795BMB9P9WF 2318 FRENCH CONNECTION WINEHYE TX 1215065184
      10/21                   44.17          0318 P.O.S. PURCHASE CHEVRON/HA CHEVRON/HAM AUSTIN TX 1412977767
      10/21                   13.42          INTUIT PYMT SOLN TRAN F 524771992044311REF # 019294001138523 1114535225
      10/21                   16.69          INTUIT PYMT SOLN TRAN F 524771992044311REF # 019294001499978 1114572334
      10/22                  142.11          2422369960FVNQPW7 2318 CALAIS WINERY HYE TX 1213053159
      10/22                    4.00          244921596LYHATKAM 2318 AIRBNB HMAE8SQBHM AIRBNB.COM CA 1213053158
      10/23                   88.17          246326997EJ3QEWPR 2318 JOHNSON SUPPLY SPRING 281-872-3454 TX 1211954385
      10/23                  290.73          247650197M44SBGF7 2318 COASTAL HVAC SUPPLY 281-445-3237 TX 1211954383
      10/23                  213.60          2449398982BH33QR8 2318 CENTURY A/C SUPPLY 281-776-1925 TX 1211954387
      10/23                  269.35          240404898BMDNZ7EP 2318 VERBET INDUSTRIES - VBHOUSTON TX 1211954388
      10/23                   51.33          240404898BMDNZ7F7 2318 VERBET INDUSTRIES - VBHOUSTON TX 1211954386
      10/23                   91.01          2449398982BHNRGJA 2318 CENTURY A/C SUPPLY 281-776-1925 TX 1211954384
      10/23                   92.04          INTUIT PYMT SOLN TRAN F 524771992044311REF # 019296003078669 1111546778
      10/24                  126.64          246326998EJ3RTG72 2318 JOHNSTONE SUPPLY OF HO713-868-8967 TX 1211854353
      10/24                   65.94          24610439809FEJTRT 2318 THE HOME DEPOT #0566 HOUSTON TX 1211854357
      10/24                   50.00          2455194980EXDJM0E 2318 TIMER SAVER FOOD MART SPRING TX 1211854361
      10/24                   14.43          2443106980RSJPBNV 2318 ADOBE ACROPRO SUBS 800-833-6687 CA 1211854356
      10/24                  603.37          2427539980XTX36R7 2318 Texans Energy 855-5083926 TX 1211854354
      10/24                  101.16          2490641982BZBZ819 2318 DNH*GODADDY.COM 480-5058855 AZ 1211854355
      10/24                  109.00          244921598JHAKNW3V 2318 LEADERSHIELD MARKETINGWWW.LEADERSHI T 1211854359
      10/24                    2.14          247606299DMP3BPBE 2318 SERVICECHANNEL.COM 516-2406800 NY 1211854358
      10/24                   83.00          244921598JHATAGXL 2318 LISTING LAWN MAINT YDBK.CO114105 TX 1211854360
      10/24                  240.66          0318 P.O.S. PURCHASE LOWE'S #28 LOWE'S #282 SPRING TX 1409922739
      10/24                   65.01          INTUIT PYMT SOLN TRAN F 524771992044311REF # 019297004011009 1111538916
      10/24                  271.85          DELUXE BUS SYS. BUS PRO 86409892 REF # 019297003866594 1111536859
      10/25                  254.54          TRANSFER DEBIT 5793469445
      10/25                   37.77          2434285990FVF7EXE 2418 Fu Manchung Spring TX 1213055140
      10/25                  443.79          24445009A00R9ERR4 2318 GOODMAN-TOMBALL 416 281-290-0382 TX 1213055836
      10/25                   15.03          24040489ABMDRW8HV 2318 VERBET INDUSTRIES - VBHOUSTON TX 1213055835
      10/25                   54.61          0318 P.O.S. PURCHASE H-E-B GAS/ H-E-B GAS/C SPRING TX 1410927539
      10/25                   34.78          INTUIT PYMT SOLN TRAN F 524771992044311REF # 019298004668962 1112558196
      10/25                   55.00          0190AVU2 PRESTIG PAYROL 0190AVU2 REF # 019297004538581 1112543024
      10/25                  125.30          0190AVU2 PRESTIG PAYROL 0190AVU2 REF # 019297004538580 1112543023
      10/25                1,750.44          0190AVU2 PRESTIG PAYROL 0190AVU2 REF # 019297004538582 1112543025
      10/25                   59.80          MERCHANT BNKCD FINCL AD 346201486880 REF # 019298004911557 1112502708
      10/28                  782.85          24632699AEJ605GRR 2318 JOHNSTONE SUPPLY OF HO713-868-8967 TX 1215379073
      10/28                   39.70          24610439A09FR5DLH 2318 THE HOME DEPOT #6516 CONROE TX 1215379066
      10/28                  175.00          24323009A2MDMMWEB 2318 PRONTO CRANE HOUSTON TX 1215379070
      10/28                   16.65          24186169ABLY552LK 2318 BURGER KING #3669 TOMBALL TX 1215379072
      10/28                  101.00          24071059AJ830A2VS 2318 CITY OF JERSEY VILLAGEJERSEY VILLAG T 1215379071
      10/28                   23.37          24610439A09FR4KJ7 2318 THE HOME DEPOT #6510 HOUSTON TX 1215379069
      10/28                   19.46          24493989B2BS80LF9 2318 CENTURY A/C SUPPLY 281-776-1925 TX 1215379068
      10/28                   10.00          24492159BRSAJ222R 2318 PAYPAL *LEADERSHIEL 402-935-7733 CA 1215379067
      10/28                  489.72          24632699Q2XQ9AS2G 2318 JOHNSON SUPPLY SPRING 281-872-3454 TX 1215259025
      10/28                   79.08          24707809Q0GTJNMEG 2318 EL CHAPARRO #2 TOMBALL TX 1215259023
      10/28                  118.00          24137469DHEX351TK 2318 USPS PO BOXES ONLINE 800-344-7779 DC 1215259024
      10/28                   99.85          0318 P.O.S. PURCHASE LOWE'S #28 LOWE'S #282 SPRING TX 1413175827
      10/29                  719.33          24040489EBMDH841K 2318 VERBET INDUSTRIES - VBHOUSTON TX 1213352070
      10/29                  182.80          24692169D2XYA9LL8 2318 WCI*WASTECONNECTIONSTX281-446-0239 TX 1213352069
      10/29                   37.83          24692169D2Y1GV98N 2318 FSI*CENTERPOINT ENERGY800-967-9649 TX 1213352071
      10/29                  146.14          24492159ERTFLY84A 2318 PAYPAL *INHOUSECHEF 402-935-7733 CA 1213352068
      10/29                   23.44          INTUIT PYMT SOLN TRAN F 524771992044311REF # 019302006473019 1113240699
      10/30                   61.00          24164059EB01KP65N 2318 EXXONMOBIL 99270472SPRING TX 1212451887
      10/30                   95.58          INTUIT PYMT SOLN TRAN F 524771992044311REF # 019303007433578 1112343111
      10/31                   25.08          24610439F09FE3ZYV 2318 HOMEDEPOT.COM 800-430-3376 GA 1213152168
      10/31                   55.19          24013399F03W8KWXY 2318 JASPERS WOODLANDS SPRING TX 1213152167
      10/31                  168.38          24492159FMJFXSLKE 2418 SQ *HYE RUM 877-417-4551 TX 1213151500



A division of Zions Bancorporation, N.A. Member FDIC                                                            0067937-0000002-0150921
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                                                                                                                               October 31, 2019
                                                                                                                               PRESTIGE HEATING AND AIR CONDITIONING LL
                                                                                                                               5793469452




           Continued ...
           Date                        Amount                Description
           10/31                        400.00               24692169F2XA8GMQV 2318 IN *RICH PRODUCTION 713-3974401 TX 1213152169
           10/31                        119.64               0418 P.O.S. PURCHASE ALDI 78063 ALDI 78063 SPRING TX 1410624721
           10/31                        222.43               0418 P.O.S. PURCHASE H-E-B #748 H-E-B #748 SPRING TX 1410624722
           10/31                          2.00               STATEMENT & PAPER STMT FEE 0000122390
           10/31                         18.92               CURRENCY FEE
           10/31                        101.00               DEPOSITED TRANSIT ITEMS FEE

           ...........................................................................................................................................................................................
           59 CHECKS PROCESSED
           Number..............Date............................Amount       Number..............Date............................Amount      Number..............Date............................Amount
           97               10/28                           548.84         2796                 10/04                            44.25      2830*               10/15                      4,700.00
           98               10/25                           672.52         2797                 10/15                            61.50      2831                10/21                        257.07
           99               10/30                           715.87         2801*                10/04                           102.85      2832                10/18                        250.00
           100              10/25                           792.65         2803*                10/08                         2,394.80      2833                10/28                         88.20
           101              10/29                           513.09         2804                 10/15                           600.00      2834                10/25                        250.00
           102              10/25                           729.47         2805                 10/04                           250.00      2835                10/25                      5,600.00
           103              10/28                           799.49         2806                 10/11                           250.00      2836                10/28                      1,800.00
           104              10/28                           864.95         2807                 10/08                         7,000.00      2837                10/17                      1,288.40
           2767*            10/04                         1,000.00         2808                 10/15                           160.00      2839*               10/17                      1,380.81
           2768             10/03                         8,028.90         2809                 10/10                           728.20      2840                10/21                      1,364.94
           2786*            10/07                           870.96         2810                 10/15                           398.47      2841                10/18                        648.15
           2787             10/04                           794.95         2811                 10/11                           502.11      2842                10/18                        409.87
           2788             10/07                           350.73         2812                 10/15                           991.46      2843                10/18                        443.33
           2789             10/04                           229.62         2813                 10/11                         1,288.40      2844                10/18                      1,296.44
           2790             10/04                           796.45         2814                 10/17                           715.88      2845                10/23                        715.87
           2791             10/04                           728.21         2815                 10/11                           489.43      2846                10/18                        486.91
           2792             10/04                         1,288.40         2816                 10/15                           629.29      2848*               10/21                        720.42
           2793             10/09                           715.87         2817                 10/11                           864.94      2850*               10/31                      3,552.63
           2794             10/04                           269.04         2818                 10/11                           535.07      9999*               10/21                      1,966.00
           2795             10/15                           459.64         2819                 10/11                            83.25
           * Not in check sequence
           ..........................................................................................................................................................................................

           AGGREGATE OVERDRAFT AND RETURNED ITEM FEES

                                                              Total for This Period                       Total Year-to-Date
           Total Overdraft Fees                                               $0.00                                 $790.00
           Total Returned Item Fees                                           $0.00                               $3,045.00

           To learn more about our other products and services that may lower the cost of managing account
           overdrafts or to discuss removing overdraft coverage from your account, please contact Customer
           Service or visit your local branch.

           ..........................................................................................................................................................................................
           DAILY BALANCES
           Date..........................Balance                                      Date..........................Balance                                      Date..........................Balance
           10/01                     5,842.57                                         10/11                   19,678.15                                          10/23                     8,409.72
           10/02                   27,590.28                                          10/15                   11,601.06                                          10/24                     9,521.62
           10/03                   18,056.92                                          10/16                   20,547.29                                          10/25                     6,172.51
           10/04                   23,321.24                                          10/17                   15,970.13                                          10/28                       116.35
           10/07                   19,348.71                                          10/18                    7,880.99                                          10/29                       961.15
           10/08                     9,866.83                                         10/21                    3,837.16                                          10/30                   13,630.92
           10/09                     9,708.67                                         10/22                    3,940.03                                          10/31                   10,742.57
           10/10                     9,730.74




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         Case 19-35298 Document 60 Filed in TXSB on 12/10/19
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Amegy Bank of Texas




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                                                                              0067937-0000003-0150922
                                                                                This Statement:
       Caseof
Amegy Bank  19-35298
              Texas      Document 60 #Filed
                              Account       in TXSB on 12/10/19 Page 11 of 25
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                                                                                Page 7 of 13




                                              Posted 10/04/19   DEPOSIT         $11492.65
 Posted 10/02/19   DEPOSIT        $22059.06




                                              Posted 10/10/19   DEPOSIT             $703.63
 Posted 10/09/19   DEPOSIT          $639.40




 Posted 10/11/19   DEPOSIT        $17361.62
                                              Posted 10/16/19   DEPOSIT         $11400.00




 Posted 10/17/19   DEPOSIT          $205.68 Posted 10/17/19     DEPOSIT             $867.68




                                              Posted 10/22/19   DEPOSIT             $248.98

 Posted 10/21/19   DEPOSIT         $1767.30




 Posted 10/23/19   DEPOSIT         $3581.97
                                              Posted 10/24/19   DEPOSIT             $947.92
                                                                            0067937-0000004-0150923
                                                                                  This Statement:
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Amegy Bank  19-35298
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 Posted 10/25/19   DEPOSIT           $6441.15
                                                Posted 10/30/19   DEPOSIT           $4775.00




 Posted 10/30/19   DEPOSIT           $5970.71
                                                Posted 10/31/19   DEPOSIT           $1608.54




 Posted 10/28/19 Ch# 097              $548.84
                                                Posted 10/25/19 Ch# 098               $672.52




 Posted 10/30/19 Ch# 099              $715.87 Posted 10/25/19 Ch# 100                 $792.65




 Posted 10/29/19 Ch# 101              $513.09 Posted 10/25/19 Ch# 102                 $729.47




 Posted 10/28/19 Ch# 103              $799.49 Posted 10/28/19 Ch# 104                 $864.95
                                                                              0067937-0000004-0150923
                                                                                   This Statement:
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              Texas         Document 60 #Filed
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 Posted 10/04/19 Ch# 2767             $1000.00 Posted 10/03/19 Ch# 2768              $8028.90




 Posted 10/07/19 Ch# 2786              $870.96 Posted 10/04/19 Ch# 2787                $794.95




 Posted 10/07/19 Ch# 2788              $350.73 Posted 10/04/19 Ch# 2789                $229.62




 Posted 10/04/19 Ch# 2790              $796.45 Posted 10/04/19 Ch# 2791                $728.21




 Posted 10/04/19 Ch# 2792             $1288.40 Posted 10/09/19 Ch# 2793                $715.87




                                                 Posted 10/15/19 Ch# 2795              $459.64
 Posted 10/04/19 Ch# 2794              $269.04
                                                                               0067937-0000005-0150924
                                                                                   This Statement:
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                                                 Posted 10/15/19 Ch# 2797               $61.50
 Posted 10/04/19 Ch# 2796               $44.25




 Posted 10/04/19 Ch# 2801              $102.85 Posted 10/08/19 Ch# 2803              $2394.80




 Posted 10/15/19 Ch# 2804              $600.00 Posted 10/04/19 Ch# 2805                $250.00




 Posted 10/11/19 Ch# 2806              $250.00 Posted 10/08/19 Ch# 2807              $7000.00




 Posted 10/15/19 Ch# 2808              $160.00 Posted 10/10/19 Ch# 2809                $728.20




 Posted 10/15/19 Ch# 2810              $398.47 Posted 10/11/19 Ch# 2811                $502.11
                                                                               0067937-0000005-0150924
                                                                                   This Statement:
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 Posted 10/15/19 Ch# 2812              $991.46 Posted 10/11/19 Ch# 2813              $1288.40




 Posted 10/17/19 Ch# 2814              $715.88 Posted 10/11/19 Ch# 2815                $489.43




 Posted 10/15/19 Ch# 2816              $629.29
                                                 Posted 10/11/19 Ch# 2817              $864.94




 Posted 10/11/19 Ch# 2818              $535.07 Posted 10/11/19 Ch# 2819                 $83.25




                                                 Posted 10/21/19 Ch# 2831              $257.07
 Posted 10/15/19 Ch# 2830             $4700.00




 Posted 10/18/19 Ch# 2832              $250.00 Posted 10/28/19 Ch# 2833                 $88.20
                                                                               0067937-0000006-0150925
                                                                                   This Statement:
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 Posted 10/25/19 Ch# 2834              $250.00 Posted 10/25/19 Ch# 2835              $5600.00




                                                 Posted 10/17/19 Ch# 2837            $1288.40
 Posted 10/28/19 Ch# 2836             $1800.00




 Posted 10/17/19 Ch# 2839             $1380.81 Posted 10/21/19 Ch# 2840              $1364.94




 Posted 10/18/19 Ch# 2841              $648.15 Posted 10/18/19 Ch# 2842                $409.87




 Posted 10/18/19 Ch# 2843              $443.33 Posted 10/18/19 Ch# 2844              $1296.44




 Posted 10/23/19 Ch# 2845              $715.87 Posted 10/18/19 Ch# 2846                $486.91
                                                                               0067937-0000006-0150925
                                                                                   This Statement:
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 Posted 10/21/19 Ch# 2848              $720.42
                                                 Posted 10/31/19 Ch# 2850            $3552.63




 Posted 10/21/19 Ch# 9999             $1966.00




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                                                                                                                                                Statement of Accounts
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                                                                                                                                                This Statement: October 31, 2019
                                                                                                                                                Last Statement: September 30, 2019

                                                                                                                                                Account 5793469445



                                                                                                                                                DIRECT INQUIRIES TO:
                                                                                                                                                Direct all inquiries to Customer Service:
            0067936                                  3305-06-0000-AMG-PG0023-00000                                                              In Houston:                  713-235-8810
            PRESTIGE HEATING AND AIR CONDITIONING LL                                                                                            In Dallas/Fort Worth:        214-754-9500
                                                                                                                                                In San Antonio:              210-343-4500
            DEBTOR IN POSSESSION CASE # 19-35298-H3
                                                                                                                                                Or Toll-Free:                800-287-0301
            PAYROLL ACCOUNT
                                                                                                                                                Press 0 for a Customer Service Representative
            2129 FM 2920 RD STE 190
            SPRING TX 77388-3671




            Amegy Bank - The "A" Bank
            Amegy Bank, a division of Zions Bancorporation, N.A.


             SUMMARY OF ACCOUNT BALANCE
                                                                                                                                   Account                            Outstanding
             Account Type                                                      Account Number                                Ending Balance                        Balances Owed
             Business Inspire Checking                                         5793469445                                             $0.00



             BUSINESS INSPIRE CHECKING 5793469445                                                                                                                                            151     0



             Previous Balance                                     Deposits/Credits                      Charges/Debits                    Checks Processed                         Ending Balance
             0.00                                                          254.54                              254.54                                 0.00                                   0.00

            ...........................................................................................................................................................................................
            1 DEPOSIT/CREDIT
            Date                         Amount              Description
            10/25                         254.54             TRANSFER CREDIT 5793469452

            ...........................................................................................................................................................................................
            1 CHARGE/DEBIT
            Date                        Amount               Description
            10/25                        254.54              DELUXE BUS SYS. BUS PRO 86409904 REF # 019298004694503 1112558487

            ...........................................................................................................................................................................................
            0 CHECKS PROCESSED
            There were no transactions this period.
            ..........................................................................................................................................................................................

            AGGREGATE OVERDRAFT AND RETURNED ITEM FEES

                                                              Total for This Period                       Total Year-to-Date
            Total Overdraft Fees                                              $0.00                                    $0.00
            Total Returned Item Fees                                          $0.00                                    $0.00

            To learn more about our other products and services that may lower the cost of managing account
            overdrafts or to discuss removing overdraft coverage from your account, please contact Customer
            Service or visit your local branch.

            ..........................................................................................................................................................................................
            DAILY BALANCES
            Date..........................Balance
            10/25                          0.00




A division of Zions Bancorporation, N.A. Member FDIC                                                                                                                  0067936-0000001-0150919
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                                                                                                                                                                               Page 1 of 5
                                                                                                                                           Statement Period: October 01 - October 31, 2019


                                                                                                                                                     Account Information & Customer Service
                                                                                                                                                                          1-(877) 968-7962


                                                                                                                                                      P.O. Box 7889 The Woodlands, TX 77387
                                                              00001020 TW100T11011911063100 5 000000000   2093233913
                                   101010101010101010101010
                                   111110111100010001000011
                                   101010110001100100001100
                                   101100010000000100011101
                                   101101000110010000100000
                                   101001010100010010001111
                                   111100101011000000000100
                                   101101010101101001101111
                                   111000110110111011111010
                                                               KRISTIE M GESNER
                                   111011010111001101111001
                                   111110001001011010101110
                                   111000010111000100010111
                                   111001010111110100101110
                                   100011001100010111011001
                                   101000001110110110101000    PO BOX 1297                                                                             Visit Us Online at www.woodforest.com
                                   100100100101110010111111
                                   111000111101100101001010
                                   110010010000101010001001
                                   100000111011110100110110
                                   101000011111010000010111
                                   111101011010011010111100
                                   101001111000010001000101
                                   101111001111110010011010
                                   111111111111111111111111    SPRING TX 77383
                                                                                                                                                      Like Us On                Follow Us on




                                                                                                           Summary of Accounts

                                                                                                                          BALANCE               TOTAL                  TOTAL            CLOSING
                            ACCOUNT TYPE AND NUMBER
                                                                                                                         FORWARD               DEBITS                CREDITS            BALANCE
                            Business Simple Checking 1301018246                                                           14,520.52           30,576.50              16,044.25                 -11.73

                           Business Simple Checking 1301018246


                           Transactions
                           Date                                  Credits              Debits               Balance Description
                           10-01                                  482.18                                  15,002.70   ACH-191001P2 Brian Gesner Square Inc
                           10-01                                                         2.99             14,999.71   POS DB APL*ITUNES.COM/BILL 866-712-7753 CA 000000000164027
                           10-01                                                         4.32             14,995.39   POS DB Amazon Music 888-802-3080 WA 000000000563879
                           10-01                                                       110.93             14,884.46   POS DB TELLERS LOBBY BAR SAN ANTONIO TX 000000000734751
                           10-01                                                     3,500.00             11,384.46   Check #1099
                           10-01                                                       149.78             11,234.68   Check #1107
                           10-01                                                     1,288.40              9,946.28   Check #1166
                           10-01                                                       728.21              9,218.07   Check #1168
                           10-01                                                       870.96              8,347.11   Check #1170
                           10-01                                                       570.22              7,776.89   Check #1174
                           10-02                                                        10.00              7,766.89   POS DB PAYPAL *LEADERSHIEL 4029357733 CA 000000000280358
                           10-02                                                        32.47              7,734.42   POS DB SPRING FITNESS PEAKSERVE.COM TX 000000000212655
                           10-02                                                       150.00              7,584.42   POS DB ENTERPRISE RENT-A-CAR SPRING TX 000000000365659
                           10-02                                                       219.94              7,364.48   POS DB DRURY PLAZA RIVERWALK SAN ANTONIO TX 000000000184791
                           10-02                                                       258.23              7,106.25   POS DB DISCOUNT-TIRE-CO SPRING TX 000000000520061
                           10-02                                                       330.81              6,775.44   Check #1112
                           10-02                                                       795.18              5,980.26   Check #1169
                           10-03                                                        17.28              5,962.98   POS DB APL*ITUNES.COM/BILL 866-712-7753 CA 000000000012090
                           10-03                                                        61.73              5,901.25   POS DB CST 1907 SPRING TX 000000000360963
                           10-03                                                        94.87              5,806.38   POS DB CNS AT&T K932 10710961297 SPRING TX 000000000995266
                           10-03                                                       105.80              5,700.58   POS DB Evernote Mountain View CA 000000000510648
                           10-03                                                       193.83              5,506.75   POS DB CNS AT&T K932 10710761201 SPRING TX 000000000992789
                           10-03                                                       500.00              5,006.75   POS DB Visual Edge - TLC 800-8563900 TX 000000000005520
                           10-03                                                       715.87              4,290.88   Check #1165
                           10-04                                1,133.75                                   5,424.63   ACH-INTUITPMTS 524771992044311 INTUIT PYMT SOLN
                           10-04                                                         5.41              5,419.22   POS DB AT&T K932 10710 SPRING TX 000000000477729
                           10-04                                                       216.49              5,202.73   POS DB AMZN Mktp US Amzn.com/bill WA 000000000269491
                           10-04                                                        61.00              5,141.73   ACH-PAYROLL 0190AVU2 0190AVU2 PRESTIG
                           10-04                                                       119.30              5,022.43   ACH-PAYROLL 0190AVU2 0190AVU2 PRESTIG
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                           10-04                                                     1,591.96              3,430.47   ACH-PAYROLL 0190AVU2 0190AVU2 PRESTIG
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                           10-04                                                       547.74              2,882.73   Check #1108
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                           10-04                                                     2,454.50                428.23   Check #1136
                           10-04                                                       170.87                257.36   Check #1139
                           10-04                                                       389.87               -132.51   Check #1147
                           10-04                                                        32.00               -164.51   OVERDRAFT ITEM FEE
                           10-05                                  500.00                                     335.49   POS CR ENTERPRISE RENT-A-CAR SPRING TX 000000000001138
                           10-05                                                         3.90                331.59   POS DB 7172 Golds Gym The Woodlands TX 000000000155779
                           10-05                                                        14.11                317.48   POS DB EXXON CST 1907 SPRING TX 000000000319592
                           10-07                                1,804.28                                   2,121.76   ACH-DEPOSIT 524771992044311 INTUIT PYMT SOLN




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                                                                                                                           Statement Period: October 01 - October 31, 2019

                           Business Simple Checking 1301018246
                           Transactions (continued)
                           Date               Credits             Debits              Balance Description
                           10-07                                   18.07            2,103.69      POS DB AMZN Mktp US Amzn.com/bill WA 000000000375095
                           10-07                                   61.85            2,041.84      ACH-TRAN FEE 524771992044311 INTUIT PYMT SOLN
                           10-08                24.90                               2,066.74      POS CR DRURY PLAZA RIVERWALK SAN ANTONIO TX 000000000583023
                           10-08                                  105.00            1,961.74      POS DB ABILITY ANSWERING SERV BAKERSFIELD CA 000000000389466
                           10-09                18.07                               1,979.81      POS CR AMZN Mktp US Amzn.com/bill WA 000000000620148
                           10-09                                    5.32            1,974.49      POS DB DNH*GODADDY.COM 480-5058855 AZ 000000000236630
                           10-09                                   11.70            1,962.79      POS DB PROFESSIONAL WELDING S TOMBALL TX 000000000456636
                           10-09                                   17.31            1,945.48      POS DB NETFLIX.COM NETFLIX.COM CA 000000000234733
                           10-09                                   57.70            1,887.78      POS DB 24 SEVEN # 31 SPRING TX 000000000311571
                           10-09                                   59.08            1,828.70      POS DB CHEVRON 0373659 TOMBALL TX 000000000445939
                           10-10                                   41.32            1,787.38      POS DB CIRCLE S HARDWARE MAGNOLIA TX 000000000245695
                           10-10                                  123.17            1,664.21      POS DB HOTELSCOM8141403913022 HOTELS.COM WA 000000000568761
                           10-11                                   18.06            1,646.15      POS DB Standard Supply Housto 214-3797114 TX 000000000062838
                           10-11                                  987.00              659.15      POS DB LEADERSHIELD MARKETING Houston TX 000000000426777
                           10-12                                   27.06              632.09      POS DB ABC*GOLDS GYM 888-8279262 TX 000000000251129
                           10-12                                   89.00              543.09      POS DB United Credit Educatio 248-8489065 MI 000000000025914
                           10-12                                   96.55              446.54      POS DB EXXON 24 SEVEN # 31 SPRING TX 000000000392585
                           10-12                                  319.51              127.03      POS DB HUNTON DISTRIBUTION HOUSTON TX 000000000081792
                           10-14                                   70.32               56.71      POS DB ENTERPRISE RENT ACAR T 877-8601258 NY 000000000028845
                           10-15            12,081.07                              12,137.78      ACH-CASH TRANS PRESTIGE EXPERTS MAC ACQUISIT6611
                           10-15                                  100.00           12,037.78      POS DB EXXON 24 SEVEN # 31 SPRING TX 000000000421000
                           10-16                                   16.23           12,021.55      POS DB APL*ITUNES.COM/BILL 866-712-7753 CA 000000000026643
                           10-16                               11,400.00              621.55      CASH CK #Check
                           10-17                                   21.18              600.37      POS DB IMPERFECT FOODS SAN FRANCISCO CA 000000000001627
                           10-17                                   87.53              512.84      POS DB EXXON 24 SEVEN # 31 SPRING TX 000000000561001
                           10-18                                    6.10              506.74      POS DB ENTERPRISE RENT ACAR T 877-8601258 NY 000000000031241
                           10-18                                   21.64              485.10      POS DB APL*ITUNES.COM/BILL 866-712-7753 CA 000000000176430
                           10-18                                   89.00              396.10      POS DB United Credit Educatio 248-8489065 MI 000000000021564
                           10-19                                    7.69              388.41      POS DB ELLIOTT ELECTRIC SUPPL NACOGDOCHES TX 000000000367559
                           10-19                                   92.07              296.34      POS DB EXXON 24 SEVEN # 31 SPRING TX 000000000573049
                           10-19                                  200.00               96.34      POS DB UNTAMED UPHOLSTERY LLC TOMBALL TX 000000000339803
                           10-22                                   32.00               64.34      INSUFFICIENT ITEM FEE
                           10-24                                   21.97               42.37      POS DB IR NEXIA INTELLIGENCE TYLER TX 000000000161222
                           10-26                                    5.32               37.05      POS DB DNH*GODADDY.COM 480-5058855 AZ 000000000497590
                           10-26                                    5.40               31.65      POS DB APL*ITUNES.COM/BILL 866-712-7753 CA 000000000073734
                           10-26                                   27.06                4.59      POS DB ABC*GOLDS GYM 888-8279262 TX 000000000228954
                           10-31                                    4.32                0.27      POS DB Amazon Music 888-802-3080 WA 000000000551499
                           10-31                                   12.00              -11.73      MAINTENANCE FEE               SVC CH*


                                                                                Total for                         Total for
                                                                             This Statement                       This Year
                             Total Overdraft Fees                                      $32.00                        $32.00
                             Total Insufficient Items Fees                             $32.00                        $61.00



                           Checks Cleared
                           Date          Check No                Amount        Date             Check No               Amount          Date          Check No            Amount
                           10-16         Check                   11,400.00     10-04            1136*                  2,454.50    10-01       1168*                       728.21
                           10-01         1099                     3,500.00     10-04            1139*                    170.87    10-02       1169                        795.18
                           10-01         1107*                      149.78     10-04            1147*                    389.87    10-01       1170                        870.96
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                           10-04         1108                       547.74     10-03            1165*                    715.87    10-01       1174*                       570.22
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                           10-02         1112*                      330.81     10-01            1166                   1,288.40
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111111111111111111111111   * Denotes a   break in check sequence                                                      14 Check(s) Paid for a Total of $23,912.41

                           Account Summary
                           Average Balance                                                 $1,325.12       Minimum Balance on 10/04/2019                                -$164.51
                           Average Collected Balance                                       $1,325.12       Number of Days in Cycle                                            31




                                                                                                                   00001020-15345-0002-0005-TW100T11011911063100-12-L
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                                                                                                 Statement Period: October 01 - October 31, 2019

                           Business Simple Checking 1301018246
                           Daily Closing Balance Summary
                           Date             Balance                 Date             Balance                               Date               Balance
                           10-01            7,776.89                10-09            1,828.70                              10-17               512.84
                           10-02            5,980.26                10-10            1,664.21                              10-18               396.10
                           10-03            4,290.88                10-11              659.15                              10-19                96.34
                           10-04             -164.51                10-12              127.03                              10-22                64.34
                           10-05              317.48                10-14               56.71                              10-24                42.37
                           10-07            2,041.84                10-15           12,037.78                              10-26                 4.59
                           10-08            1,961.74                10-16              621.55                              10-31               -11.73

                           Account Item Images Total of 14




                           10/16/2019       Ck # 0     $11,400.00           10/01/2019             Ck # 1099         $3,500.00




                           10/01/2019      Ck # 1107   $149.78              10/04/2019             Ck # 1108         $547.74




                           10/02/2019      Ck # 1112   $330.81              10/04/2019             Ck # 1136         $2,454.50




                           10/04/2019      Ck # 1139   $170.87              10/04/2019             Ck # 1147         $389.87



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100011011101101101101110
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                           10/03/2019      Ck # 1165   $715.87              10/01/2019             Ck # 1166         $1,288.40




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                                                                                                                                                    Page 4 of 5
                                                                                                                Statement Period: October 01 - October 31, 2019

                           Business Simple Checking 1301018246
                           Account Item Images 14 (continued)




                           10/01/2019          Ck # 1168     $728.21                       10/02/2019             Ck # 1169         $795.18




                           10/01/2019          Ck # 1170     $870.96                       10/01/2019             Ck # 1174         $570.22




                           SIMPLE WAYS TO LOWER YOUR FEES
                           Track your balance, deposits and spending habits carefully. Sign up for Daily Email Notifications.
                           We will send a daily message to your email account with transaction and balance information, including when you have overdrawn your
                           account. There is no charge for this service.

                           Link a secondary account to your checking account.
                           When you overdraft your checking account, any available money will be automatically transferred first from your secondary account to
                           avoid overdrawing your account. A sweep fee applies for each automatic transfer. Refer to the Schedule of Fees for complete details.

                           Consider opting-out of overdraft coverage for ATM and everyday debit card transactions.
                           ATM and everyday debit card transactions that would overdraw your account are declined and would not incur a fee. You can also
                           request to opt-out of all overdraft coverage. For complete details please speak with a Woodforest retail banker.




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                                                                                                                                                                            Page 5 of 5
                                                                                                                                        Statement Period: October 01 - October 31, 2019


                                    In Case Of Errors Or Questions About Your Electronic Transfers                                              ACCOUNT RECONCILIATION
                                                     For Consumer Accounts Only
                                                                                                                              THIS IS PROVIDED TO HELP YOU BALANCE YOUR STATEMENT.
                           Telephone us at 877-968-7962 or write us at the address on the front of this
                           statement as soon as possible, if you think your statement or receipt is wrong or if
                           you need more information about a transfer on the statement or receipt. We must
                           hear from you no later than 60 days after we sent you the FIRST statement on
                           which the error or problem appeared.                                                                 $ __________         CHECKS OUTSTANDING       $ __________
                                                                                                                              YOUR BALANCE AS                                   CHECKBOOK BALANCE
                                •      Tell us your name and account number.                                            SHOWN ON THIS STATEMENT                                 (AT STATEMENT DATE)
                                •      Describe the error transfer you are unsure about, and explain as clearly as                                   NO.        AMOUNT
                                       you can why you believe it is an error or why you need more information.
                                •      Tell us the dollar amount of the suspected error.
                           We will investigate your complaint and will correct any error promptly. If we take
                           more than 10 business days to do this, we will credit your account for the amount you
                           think is in error, so that you have use of the money during the time it takes us to
                           complete our investigation.                                                                          $ __________                                  $ __________
                                                                                                                           ADD (+) DEPOSITS NOT                                 SUBTRACT (-)
                                                       Billing Rights Summary                                         SHOWN ON THIS STMT (IF ANY)                               ACTIVITY CHARGE (IF ANY)
                                     In Case Of Errors Or Questions About Your Revolving Credit
                           If you think there is an error on your statement, write to us at Woodforest National
                           Bank, ATTN: Loan Dept., PO Box 7889, The Woodlands, TX 77387-7889. In your
                           letter, give us the following information:
                                •      Account information: Your name and account number                                         $ __________                                 $ __________
                                •      Dollar amount: The dollar amount of the suspected error.
                                •      Description of the problem: If you think there is an error on your bill,                          TOTAL                                SUB-TOTAL
                                       describe what you believe is wrong and why you believe it is a mistake.
                           You must contact us within 60 days after the error appeared on your statement. You
                           must notify us of any potential errors in writing. You may call us, but if you do we are
                           not required to investigate any potential errors and you may have to pay the amount
                           in question. While we investigate whether or not there has been an error, the
                           following are true:
                                                                                                                                $ __________                                  $ __________
                                •      We cannot try to collect the amount in question, or report you as
                                       delinquent on that amount.                                                           SUBTRACT (-) CHECKS                               SUBTRACT (-)
                                •      The charge in question may remain on your statement, and we may                      OUTSTANDING (IF ANY)                              OTHER CHARGES (IF ANY)
                                       continue to charge you interest on that amount. But, if we determine that
                                       we made a mistake, you will not have to pay the amount in question or
                                       any interest or other fees related to that amount.
                                •      While you do not have to pay the amount in question, you are responsible
                                       for the remainder of your balance.
                                •      We can apply any unpaid amount against your credit limit.                                 $ __________                                 $ __________
                                        In Case Of Errors Or Questions About Your Statement
                                                                                                                                        BALANCE     TOTAL   $                   BALANCE
                           Please examine this statement upon receipt and report any differences in writing to
                           the bank. If no differences are reported in writing within 30 days, the account will be
                           considered correct.
                                                                                                                                      � SHOULD AGREE WITH YOUR CHECKBOOK BALANCE �
                           Please notify us in writing of your change of address.




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